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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 1:21-cr-00050-002 (CRC)
                                             :
JASON LEE HYLAND,                            :
                                             :
                      Defendant.             :


           GOVERNMENT’S SECOND NOTICE OF FILING OF EXHIBITS
      PURSUANT TO LOCAL CRIMINAL RULE 49 AND STANDING ORDER 21-28


       The United States hereby gives an updated notice, pursuant to Local Criminal Rule 49 and

Standing Order 21-28, adding Exhibits 31-33, which have been provided to the Court and counsel

and which will be used by the government in the sentencing in this matter. The exhibits are:



 Number               File Name                        Source                 Description

 18                   Ryan Video of Walk to Rally      Jennifer Lee Ryan Recording for
                                                       Cellular Phone    Facebook
                                                                         Livestream
 19                   IMG_5707.mp4                     Jennifer Lee Ryan Recording from
                                                       Cellular Phone    hotel room of
                                                                         television news
                                                                         broadcast
 20                   IMG_4377.mp4                     Jason Lee Hyland  Recording of
                                                       Cellular Phone    Approach to
                                                                         Capitol
 21                   IMG_4392.mp4                     Jason Lee Hyland  Recording of
                                                       Cellular Phone    Entrance into
                                                                         Capitol
 22                   Ryan Facebook Video of           Ryan Facebook     Recording by
                      Entrance into Capitol.mp4        Account           Jennifer Lee
                                                                         Ryan of Entrance
                                                                         into Capitol
 23                   Daily Mail Recording.mp4         Open source       Video of Jason
                                                                         Lee       Hyland,
                                                                         Jennifer    Leigh

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                                                                          Ryan and crowd
                                                                          inside the Capitol
24                 IMG_4394.mp4                     Jason Lee Hyland      Video of Jason
                                                    Cellular Phone        Lee Hyland after
                                                                          exit from Capitol
25                 IMG_4406.mp4                     Jason Lee Hyland      Video of Jason
                                                    Cellular Phone        Lee Hyland
                                                                          discussing pellets
                                                                          and tear gas
26                 IMG_4407.mp4                     Jason Lee Hyland      Video of Jason
                                                    Cellular Phone        Lee        Hyland
                                                                          saying “so they
                                                                          gassed me”
27                 IMG_4415.mp4                     Jason Lee Hyland      Video of police
                                                    Cellular Phone        dispersing crowd
                                                                          with         audio
                                                                          calling     police
                                                                          traitors
28                 Ryan Facebook Video, media Ryan Facebook               Video of
                   enclosure.mp4              account                     defendants at
                                                                          media enclosure
29                 Recording for Facebook in        Ryan Facebook         Recording of
                   hotel after Capitol.mp4          account               defendants after
                                                                          returning to hotel
30                 Hyland Recorded Interview        FBI                   Interview of
                   with FBI.wav                                           Jason Lee
                                                                          Hyland
31                 [redacted]Rotunda Door     U.S. Capitol Police         Defendants’
                   Interior -2021-                                        entrance into
                   0106_15h20min00s.000ms.asf                             Capitol-facing
                                                                          entrance/exit to
                                                                          building
32                 [redacted]Rotunda Lobby East U.S. Capitol Police       Defendants’
                   Stairs-2021-                                           entrance into
                   0106_15h20min00s.000ms.asf                             Capitol-side
                                                                          view
33                 [redacted]Rotunda Door     U.S. Capitol Police         Defendants’
                   Interior -2021-                                        entrance into
                   0106_15h20min00s.000ms.asf                             Capitol-facing
                                                                          interior door to
                                                                          Rotunda

     The Government does not object to the public release of the above-listed audio recording




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and videos. 1


                                         Respectfully submitted,

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                                         UNITED STATES ATTORNEY
                                         D.C. Bar No. 481052

                                  By:     /s/ Karen Rochlin
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1 Exhibits 1-17 were filed as attachments to the government’s Sentencing Memorandum, ECF
72.
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